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xplore transgender sorority ‘sister’ Artemis Langford who was the subject of a D @OliLondor
lawsuit by 6 sorority sisters after he was allowed to move in to their (Author o
{& Notifications sorority house. News Contr
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A-Ma dog MA @tresferret - Aug 30, 2023 $B
That's a guy..he's got a "pointer" and stands up when HE pees.

QO un 01 lt 95 A &
“le Buddy @danvilleagent - Aug 30, 2023 ow
At least he shaves his face
QO ty 9 tht 81 A &
€ 4/19/1775 @BakerWylie - Aug 30, 2023 Jorn
The best part of the coming collapse and severing of supply chains will be
all of the chimera creatures not getting their hormone therapy.
01 tv 01 tht 90 A &
iP Val Jean @masterhogman - Aug 30, 2023 Gow D
? Sisters should all move out - DONE

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& pystryker @pystryker - Aug 30, 2023

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q.

The women reported he's watching them with a visible erection is going to
lead to something worse. How much longer will this perv control himself
before he ends up attacking one of the women? | pray that doesn't happen,
but if it does, they're gonna own that school.

QO a 9 lt 36 At

Craig Cope ® @CraigCope18 - Sep 4, 2023 Gur
Too bad he’s a sexual deviant. This is why we need to protect the majority
of our public. Not everybody has sincere and honest motives. Enormous
amount of our country. If they were brave enough to speak, their mind
would gladly be canceled.

QO vd 9 ih 27 W &
MaddyD. @delmadelaine - Aug 30, 2023 Bw
Sad

Oo a 9 tht 163 A &
Henry @Henryhender2 - Aug 30, 2023 Bow
Both are pervert apparently

QO Td 94 ii 135 A &
Richard Dawkins (Parody) @Dawkins Parody - Aug 30, 2023 Og aoe
Why did you cut so early?

| wanna hear him speak ©

01 vd QO5 il 466 Qn st
Philip Simpson @Philipinpaisley - Aug 30, 2023 Og ove
It’s a him not a her you colony of seals.

QO uv 01 it 70 At

jloUSA @jloUSA32 - Aug 30, 2023 (Bown
The only way this will end is if women stop participating in sports,
sororities, etc, when men are allowed in. Don't show up for the
competition, drop out of the sororities. | can understand how
heartbreaking it would be for the women, but it's only going to get worse !

QO a 95 ila 108 At
The Cripple @CrippledQuack - Aug 30, 2023 Gow
My question:

how many girls have applied to join that sorority this year after the
publicity?

more?

fewer?

why?

O01 vd 03 ila 166 A ft
Conservative Walker @Abruce13Walker - Aug 30, 2023 Gow
It’s PATHETIC, Every sorority sister in every college SHOULD WALK OUT
QO na O03 la 110 A &
Imagine Resorts © @ImagineResorts - Aug 30, 2023 Gn

WHATEVER happened to “The needs of the many outweigh the needs of
the few” ??
In these cases- “The needs of one outweigh the needs of the many.”

QO va 2 il 148 At

Anthony Magliaro
She?

@MazgliaroTony- Au. Messages

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M Home & Christine @sneezey® - Aug 30, 2023 Gun Relevant peo
* That’s a male
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seas =) Maya Chiy @ @maya chiy - Aug 30, 2023 Bow
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G&G Notifications “= All the REAL girls need to move out!
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4 Messages © @Womenke
‘es Steve @ @Hugo freedomplz - Aug 31, 2023 Yow Co-founder
SS Grok Virtue signalling makes it so unappealing.
QO ty 9 tht 47 At
Li .
sts © Sheila Singhal‘), @sheilasinghal - Aug 30, 2023 Gow
It's seems like every predatory and exhibitionist man has suddenly realized What’s happe
Wl Bookmarks that putting on a dress and calling himself trans gives him free access to
any female space, sport or activity in the world. These are men who mock Anyrr
and despise women, not men who want to be women. Starts
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fa Communities > Rev. Paul John Kalchik @ @KalchikRev - Aug 30, 2023 Gow .
@& They make such a nice couple, two overweight men talking nonsense. #iPhonet6e
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on RedheadFarleyGirl1 @befarl9152 - Aug 30, 2023 Og aoe
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(@, Mapa Grubb @Burke2136 - Aug 30, 2023 Bm
&) Pussy boy J
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MA Xainte @xainte12077 - Aug 30, 2023

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we Well this explains A LOT

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Mikayla Cote @mikaycote - Aug 31, 2023
Ew. Who bid him anyways? °

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@ \ Terry @rembrtruth - Sep 1, 2023
He’s gotta go! So..these six WOMEN who do not want a MAN and his flippin
PENIS bullying his way into their sorority, are of no importance 77? =A
house of young women who have been looking forward to college life...has
to have it ruined! Nobody wants to see this man strutting

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zh mich @TheRealMimiM - Aug 31, 2023

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“© Another pandering politician, no surprise there

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Sam Hill @WManfeld - Aug 30, 2023
Strange mental illness is applauded as normal. Harming people just to
virtue signal. Shame shame

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Mark Zucker @Zuckster369 - Aug 30, 2023
They clapping for a n*gga with a braon ¢

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